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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 THE NEW YORK TIMES COMPANY,                  Civil Action No. 1:23-cv-11195-SHS

                            Plaintiff,        Hon. Sidney H. Stein

           v.                                 ORAL ARGUMENT REQUESTED

 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                             Defendants.

 DAILY NEWS, LP; CHICAGO TRIBUNE              Civil Action No. 1:24-cv-03285-SHS
 COMPANY, LLC; ORLANDO SENTINEL
 COMMUNICATIONS COMPANY, LLC;                 Hon. Sidney H. Stein
 SUN-SENTINEL COMPANY, LLC; SAN               ORAL ARGUMENT REQUESTED
 JOSE MERCURY-NEWS, LLC; DP MEDIA
 NETWORK, LLC; ORB PUBLISHING, LLC;
 AND NORTHWEST PUBLICATIONS, LLC,

                             Plaintiffs,

           v.

 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                             Defendants.


DECLARATION OF PAVEN MALHOTRA IN SUPPORT OF OPENAI DEFENDANTS’
                   MOTION TO CONSOLIDATE




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          I, Paven Malhotra, declare as follows:

          1.     I am a partner with the law firm of Keker, Van Nest & Peters LLP, counsel of

record for Defendants OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI

OpCo LLC, OpenAI Global LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC

(collectively, “OpenAI”), and am admitted to practice before this Court.

          2.     I have knowledge of the facts set forth in this declaration and, if called to testify

as a witness thereto, could do so competently under oath.

          3.     On June 7, 2024, I emailed plaintiffs’ counsel in the above-captioned New York

Times and Daily News matters, requesting the New York Times and Daily News plaintiffs’

positions on consolidation. In an email that same day, counsel for the Daily News plaintiffs

responded, stating in relevant part: “The Daily News Plaintiffs have no objection to a

consolidation of that case with The New York Times case for discovery and pre-trial purposes,

but only if the parties in the Daily News case can come to agreement on a schedule that

contains only the most modest extension (we are thinking two months) of the dates in the

schedule that Judge Stein set (over your objections) for The New York Times case.”

Furthermore, on June 10, 2024, counsel for the New York Times responded, stating in relevant

part: “The Times does not oppose coordination of its case with the Daily News case for

discovery and pre-trial purposes, so long as such coordination does not decouple the

determination of the threshold fair use issue in The Times’s case from the determination of that

issue in the consolidated class cases before Judge Stein.” A true and correct copy of the email

thread containing the aforementioned email correspondence is attached hereto as Exhibit 1.

          4.     On June 12, 2024, the parties met-and-conferred over Zoom regarding potential

consolidation and case scheduling. Counsel for the New York Times represented that the Times



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would be open to a two-to-six-month extension in its case, so long as the fair-use defenses in the

New York Times case and Authors Guild v. OpenAI Inc., Case No. 23-cv-08292-SHS (S.D.N.Y.)

are resolved at the same time.

          5.    I understand that on March 8, 2024, OpenAI propounded its first set of requests

for production on plaintiff New York Times in New York Times Co. v. Microsoft Corp., Case No

1:23-cv11195-SHS (S.D.N.Y.). To date, I understand the New York Times has produced 2,707

documents.

          6.    Furthermore, OpenAI is also defending multiple consolidated class action

copyright infringement lawsuits filed in the U.S. District Court for the Southern District of New

York and the U.S. District Court for the Northern District of California. See Authors Guild v.

OpenAI Inc., Case No. 1:23-cv-8292-SHS (S.D.N.Y.); In re OpenAI ChatGPT Litig., Case No.

3:23-cv-03223-AMO (N.D. Cal.).

          7.    On May 24, 2024, the Northern District of California ordered “all counsel in the

OpenAI cases” to “meet and confer further such as to explore every avenue through which the

discovery process (and depositions in particular) in these cases may be streamlined and made

efficient. . . . Plaintiffs would be well advised to cooperate with Defendants in the process of

streamlining discovery coordination and deposition procedures across the OpenAI cases given

that the court is sympathetic to Defendants’ concerns about duplicative depositions on the same

topics constituting an avoidable burden and a waste of resources.” In re OpenAI ChatGPT Litig.,

Case No. 3:23-cv-03223-AMO, ECF No. 144 at 3–4 (N.D. Cal. May 24, 2024). A true and

correct copy of the Northern District of California’s May 24, 2024 order is attached hereto as

Exhibit 2.




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          8.     On May 30, 2024, I emailed plaintiffs’ counsel in the California and New York

class action cases, requesting to confer and discuss “how we can all undertake the coordination

needed to avoid the ‘burden and waste of resources’ mentioned in the Court’s order.” On May

30, 2024, Joseph R. Saveri—counsel for certain plaintiffs in the Northern District of California

class action—responded and wrote, inter alia, “I don’t think you read the order correctly. I will

undertake to speak to other plaintiffs and circle back.” On May 31, 2024, I responded, emailing

all plaintiffs’ counsel to propose various ways to coordinate and consolidate discovery, and on

June 5, 2024, I emailed all plaintiffs’ counsel again asking for responses to OpenAI’s proposals

and for a meet and confer. On June 10, 2024, my colleague, R. James Slaughter, followed up

with plaintiffs’ counsel asking for a response to my June 5 email, to which he received a non-

substantive response from Mr. Saveri on the same day. A true and correct copy of the email

thread containing the aforementioned email correspondence is attached hereto as Exhibit 3. And

on June 11, 2024, Christopher Young, plaintiffs’ counsel, responded to my June 5 email on a

separate thread but did not address plaintiffs’ position on coordination; a true and correct copy of

this email correspondence is attached hereto as Exhibit 4.

          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct and that this declaration was executed on June 13, 2024, at San

Francisco, California.




                                                       /s/ Paven Malhotra
                                                       PAVEN MALHOTRA




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